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                        Exhibit C
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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


US AIRWAYS, INC., FOR AMERICAN
AIRLINES, INC. AS SUCCESSOR AND
REAL PARTY IN INTEREST
                                           Civil Action No. 1:11-cv-02725-LGS
       Plaintiff,
                                           ECF Case
  v.

SABRE HOLDINGS CORP.,
SABRE GLBL INC., and
SABRE TRAVEL INT’L LTD.,

               Defendants.

                     US AIRWAYS’ PROPOSED VERDICT FORM
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                                               VERDICT FORM


I.      Monopolization Claim1

        Question 1

       Has US Airways proved, by a preponderance of the evidence, that Sabre willfully
maintained monopoly power through exclusionary conduct in the relevant market?

        Yes _______                         No _______

        If you answered “Yes,” proceed to Question 2.
        If you answered “No,” proceed to Question 4.

        Question 2

        Has US Airways proved, by a preponderance of the evidence, that it was harmed as a
result of Sabre’s exclusionary conduct?

        Yes _______                         No _______


        If you answered “Yes,” proceed to Question 3.
        If you answered “No,” proceed to Question 4.

        Question 3

        Please state the amount that will fairly compensate US Airways for any harm it sustained
as a result of Sabre’s exclusionary conduct.

        $ ______________________

        Proceed to Question 4.




1
  For the monopolization claim, US Airways’ proposed questions track the simplicity, wording, and number of
questions the Court approved for US Airways’ contract restraints claim in the verdict form for the 2016 trial, ECF
No. 720, which will help to avoid juror confusion. The parties also dispute the order in which the claims should be
presented in the verdict form, statement of the case, and jury instructions. Because US Airways plans to focus its
trial presentation on its monopolization claim, US Airways believes it will be clearer to the jury to present the
questions for that claim first.


                                                         1
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II.      Contract Restraints Claim2

         Question 4

        Has US Airways proved, by a preponderance of the evidence, that Sabre unreasonably
restrained trade in the relevant market by means of the challenged contract provisions?

         Yes _______                         No _______

         If you answered “Yes,” proceed to Question 5.
         If you answered “No,” proceed to the end.


         Question 5

        Has US Airways proved, by a preponderance of the evidence, that it was harmed as a
result of Sabre’s unreasonable restraint of trade?

         Yes _______                         No _______


         If you answered “Yes,” proceed to Question 6.
         If you answered “No,” proceed to the end.

         Question 6

        Please state the amount that will fairly compensate US Airways for any harm it sustained
as a result of Sabre’s unreasonable restraint of trade.

         $ ______________________

Please sign this verdict sheet and inform the court deputy that you have reached a verdict.

                                                       * * *




2
  US Airways’ questions for the contract restraints claim closely track those used by the Court in the verdict form for
the 2016 trial. See ECF No. 720.


                                                          2
